Case 1:25-cv-00637-PTG-IDD   Document 10-7   Filed 05/07/25   Page 1 of 5 PageID#
                                    261




                   EXHIBIT 5
                                                        Case 1:25-cv-00637-PTG-IDD                               Document 10-7                     Filed 05/07/25           Page 2 of 5 PageID#
                                                                                                                        262
                                                                    Federal Register / Vol. 90, No. 19 / Thursday, January 30, 2025 / Presidential Documents                                  8615

                                                                                                      Presidential Documents



                                                                                                      Executive Order 14168 of January 20, 2025

                                                                                                      Defending Women From Gender Ideology Extremism and Re-
                                                                                                      storing Biological Truth to the Federal Government

                                                                                                      By the authority vested in me as President by the Constitution and the
                                                                                                      laws of the United States of America, including section 7301 of title 5,
                                                                                                      United States Code, it is hereby ordered:
                                                                                                      Section 1. Purpose. Across the country, ideologues who deny the biological
                                                                                                      reality of sex have increasingly used legal and other socially coercive means
                                                                                                      to permit men to self-identify as women and gain access to intimate single-
                                                                                                      sex spaces and activities designed for women, from women’s domestic abuse
                                                                                                      shelters to women’s workplace showers. This is wrong. Efforts to eradicate
                                                                                                      the biological reality of sex fundamentally attack women by depriving them
                                                                                                      of their dignity, safety, and well-being. The erasure of sex in language
                                                                                                      and policy has a corrosive impact not just on women but on the validity
                                                                                                      of the entire American system. Basing Federal policy on truth is critical
                                                                                                      to scientific inquiry, public safety, morale, and trust in government itself.
                                                                                                      This unhealthy road is paved by an ongoing and purposeful attack against
                                                                                                      the ordinary and longstanding use and understanding of biological and
                                                                                                      scientific terms, replacing the immutable biological reality of sex with an
                                                                                                      internal, fluid, and subjective sense of self unmoored from biological facts.
                                                                                                      Invalidating the true and biological category of ‘‘woman’’ improperly trans-
                                                                                                      forms laws and policies designed to protect sex-based opportunities into
                                                                                                      laws and policies that undermine them, replacing longstanding, cherished
                                                                                                      legal rights and values with an identity-based, inchoate social concept.
                                                                                                      Accordingly, my Administration will defend women’s rights and protect
                                                                                                      freedom of conscience by using clear and accurate language and policies
                                                                                                      that recognize women are biologically female, and men are biologically
                                                                                                      male.
                                                                                                      Sec. 2. Policy and Definitions. It is the policy of the United States to
                                                                                                      recognize two sexes, male and female. These sexes are not changeable and
                                                                                                      are grounded in fundamental and incontrovertible reality. Under my direc-
                                                                                                      tion, the Executive Branch will enforce all sex-protective laws to promote
                                                                                                      this reality, and the following definitions shall govern all Executive interpre-
                                                                                                      tation of and application of Federal law and administration policy:
                                                                                                         (a) ‘‘Sex’’ shall refer to an individual’s immutable biological classification
                                                                                                      as either male or female. ‘‘Sex’’ is not a synonym for and does not include
                                                                                                      the concept of ‘‘gender identity.’’
                                                                                                        (b) ‘‘Women’’ or ‘‘woman’’ and ‘‘girls’’ or ‘‘girl’’ shall mean adult and
                                                                                                      juvenile human females, respectively.
                                                                                                        (c) ‘‘Men’’ or ‘‘man’’ and ‘‘boys’’ or ‘‘boy’’ shall mean adult and juvenile
                                                                                                      human males, respectively.
                                                                                                        (d) ‘‘Female’’ means a person belonging, at conception, to the sex that
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                                                                                                      produces the large reproductive cell.
                                                                                                        (e) ‘‘Male’’ means a person belonging, at conception, to the sex that pro-
                                                                                                      duces the small reproductive cell.
                                                                                                        (f) ‘‘Gender ideology’’ replaces the biological category of sex with an
                                                                                                      ever-shifting concept of self-assessed gender identity, permitting the false
                                                                                                      claim that males can identify as and thus become women and vice versa,
                                                                                                      and requiring all institutions of society to regard this false claim as true.


                                             VerDate Sep<11>2014   18:43 Jan 29, 2025   Jkt 265001   PO 00000   Frm 00001   Fmt 4790   Sfmt 4790   E:\FR\FM\30JAE7.SGM   30JAE7
                                                        Case 1:25-cv-00637-PTG-IDD                               Document 10-7                     Filed 05/07/25           Page 3 of 5 PageID#
                                                                                                                        263
                                                  8616              Federal Register / Vol. 90, No. 19 / Thursday, January 30, 2025 / Presidential Documents

                                                                                                      Gender ideology includes the idea that there is a vast spectrum of genders
                                                                                                      that are disconnected from one’s sex. Gender ideology is internally incon-
                                                                                                      sistent, in that it diminishes sex as an identifiable or useful category but
                                                                                                      nevertheless maintains that it is possible for a person to be born in the
                                                                                                      wrong sexed body.
                                                                                                        (g) ‘‘Gender identity’’ reflects a fully internal and subjective sense of
                                                                                                      self, disconnected from biological reality and sex and existing on an infinite
                                                                                                      continuum, that does not provide a meaningful basis for identification and
                                                                                                      cannot be recognized as a replacement for sex.
                                                                                                      Sec. 3. Recognizing Women Are Biologically Distinct From Men. (a) Within
                                                                                                      30 days of the date of this order, the Secretary of Health and Human
                                                                                                      Services shall provide to the U.S. Government, external partners, and the
                                                                                                      public clear guidance expanding on the sex-based definitions set forth in
                                                                                                      this order.
                                                                                                        (b) Each agency and all Federal employees shall enforce laws governing
                                                                                                      sex-based rights, protections, opportunities, and accommodations to protect
                                                                                                      men and women as biologically distinct sexes. Each agency should therefore
                                                                                                      give the terms ‘‘sex’’, ‘‘male’’, ‘‘female’’, ‘‘men’’, ‘‘women’’, ‘‘boys’’ and ‘‘girls’’
                                                                                                      the meanings set forth in section 2 of this order when interpreting or
                                                                                                      applying statutes, regulations, or guidance and in all other official agency
                                                                                                      business, documents, and communications.
                                                                                                        (c) When administering or enforcing sex-based distinctions, every agency
                                                                                                      and all Federal employees acting in an official capacity on behalf of their
                                                                                                      agency shall use the term ‘‘sex’’ and not ‘‘gender’’ in all applicable Federal
                                                                                                      policies and documents.
                                                                                                        (d) The Secretaries of State and Homeland Security, and the Director
                                                                                                      of the Office of Personnel Management, shall implement changes to require
                                                                                                      that government-issued identification documents, including passports, visas,
                                                                                                      and Global Entry cards, accurately reflect the holder’s sex, as defined under
                                                                                                      section 2 of this order; and the Director of the Office of Personnel Manage-
                                                                                                      ment shall ensure that applicable personnel records accurately report Federal
                                                                                                      employees’ sex, as defined by section 2 of this order.
                                                                                                        (e) Agencies shall remove all statements, policies, regulations, forms, com-
                                                                                                      munications, or other internal and external messages that promote or other-
                                                                                                      wise inculcate gender ideology, and shall cease issuing such statements,
                                                                                                      policies, regulations, forms, communications or other messages. Agency forms
                                                                                                      that require an individual’s sex shall list male or female, and shall not
                                                                                                      request gender identity. Agencies shall take all necessary steps, as permitted
                                                                                                      by law, to end the Federal funding of gender ideology.
                                                                                                        (f) The prior Administration argued that the Supreme Court’s decision
                                                                                                      in Bostock v. Clayton County (2020), which addressed Title VII of the
                                                                                                      Civil Rights Act of 1964, requires gender identity-based access to single-
                                                                                                      sex spaces under, for example, Title IX of the Educational Amendments
                                                                                                      Act. This position is legally untenable and has harmed women. The Attorney
                                                                                                      General shall therefore immediately issue guidance to agencies to correct
                                                                                                      the misapplication of the Supreme Court’s decision in Bostock v. Clayton
                                                                                                      County (2020) to sex-based distinctions in agency activities. In addition,
                                                                                                      the Attorney General shall issue guidance and assist agencies in protecting
                                                                                                      sex-based distinctions, which are explicitly permitted under Constitutional
                                                                                                      and statutory precedent.
                                                                                                        (g) Federal funds shall not be used to promote gender ideology. Each
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                                                                                                      agency shall assess grant conditions and grantee preferences and ensure
                                                                                                      grant funds do not promote gender ideology.
                                                                                                      Sec. 4. Privacy in Intimate Spaces. (a) The Attorney General and Secretary
                                                                                                      of Homeland Security shall ensure that males are not detained in women’s
                                                                                                      prisons or housed in women’s detention centers, including through amend-
                                                                                                      ment, as necessary, of Part 115.41 of title 28, Code of Federal Regulations
                                                                                                      and interpretation guidance regarding the Americans with Disabilities Act.


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                                                        Case 1:25-cv-00637-PTG-IDD                               Document 10-7                     Filed 05/07/25           Page 4 of 5 PageID#
                                                                                                                        264
                                                                    Federal Register / Vol. 90, No. 19 / Thursday, January 30, 2025 / Presidential Documents                                  8617

                                                                                                        (b) The Secretary of Housing and Urban Development shall prepare and
                                                                                                      submit for notice and comment rulemaking a policy to rescind the final
                                                                                                      rule entitled ‘‘Equal Access in Accordance with an Individual’s Gender
                                                                                                      Identity in Community Planning and Development Programs’’ of September
                                                                                                      21, 2016, 81 FR 64763, and shall submit for public comment a policy
                                                                                                      protecting women seeking single-sex rape shelters.
                                                                                                         (c) The Attorney General shall ensure that the Bureau of Prisons revises
                                                                                                      its policies concerning medical care to be consistent with this order, and
                                                                                                      shall ensure that no Federal funds are expended for any medical procedure,
                                                                                                      treatment, or drug for the purpose of conforming an inmate’s appearance
                                                                                                      to that of the opposite sex.
                                                                                                         (d) Agencies shall effectuate this policy by taking appropriate action to
                                                                                                      ensure that intimate spaces designated for women, girls, or females (or
                                                                                                      for men, boys, or males) are designated by sex and not identity.
                                                                                                      Sec. 5. Protecting Rights. The Attorney General shall issue guidance to
                                                                                                      ensure the freedom to express the binary nature of sex and the right to
                                                                                                      single-sex spaces in workplaces and federally funded entities covered by
                                                                                                      the Civil Rights Act of 1964. In accordance with that guidance, the Attorney
                                                                                                      General, the Secretary of Labor, the General Counsel and Chair of the Equal
                                                                                                      Employment Opportunity Commission, and each other agency head with
                                                                                                      enforcement responsibilities under the Civil Rights Act shall prioritize inves-
                                                                                                      tigations and litigation to enforce the rights and freedoms identified.
                                                                                                      Sec. 6. Bill Text. Within 30 days of the date of this order, the Assistant
                                                                                                      to the President for Legislative Affairs shall present to the President proposed
                                                                                                      bill text to codify the definitions in this order.
                                                                                                      Sec. 7. Agency Implementation and Reporting. (a) Within 120 days of the
                                                                                                      date of this order, each agency head shall submit an update on implementa-
                                                                                                      tion of this order to the President, through the Director of the Office of
                                                                                                      Management and Budget. That update shall address:
                                                                                                         (i) changes to agency documents, including regulations, guidance, forms,
                                                                                                         and communications, made to comply with this order; and
                                                                                                        (ii) agency-imposed requirements on federally funded entities, including
                                                                                                        contractors, to achieve the policy of this order.
                                                                                                        (b) The requirements of this order supersede conflicting provisions in
                                                                                                      any previous Executive Orders or Presidential Memoranda, including but
                                                                                                      not limited to Executive Orders 13988 of January 20, 2021, 14004 of January
                                                                                                      25, 2021, 14020 and 14021 of March 8, 2021, and 14075 of June 15, 2022.
                                                                                                      These Executive Orders are hereby rescinded, and the White House Gender
                                                                                                      Policy Council established by Executive Order 14020 is dissolved.
                                                                                                         (c) Each agency head shall promptly rescind all guidance documents incon-
                                                                                                      sistent with the requirements of this order or the Attorney General’s guidance
                                                                                                      issued pursuant to this order, or rescind such parts of such documents
                                                                                                      that are inconsistent in such manner. Such documents include, but are
                                                                                                      not limited to:
                                                                                                         (i) ‘‘The White House Toolkit on Transgender Equality’’;
                                                                                                         (ii) the Department of Education’s guidance documents including:
                                                                                                           (A) ‘‘2024 Title IX Regulations: Pointers for Implementation’’ (July 2024);
                                                                                                           (B) ‘‘U.S. Department of Education Toolkit: Creating Inclusive and Non-
                                                                                                         discriminatory School Environments for LGBTQI+ Students’’;
                                                                                                           (C) ‘‘U.S. Department of Education Supporting LGBTQI+ Youth and
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                                                                                                         Families in School’’ (June 21, 2023);
                                                                                                           (D) ‘‘Departamento de Educación de EE.UU. Apoyar a los jóvenes y
                                                                                                         familias LGBTQI+ en la escuela’’ (June 21, 2023);
                                                                                                           (E) ‘‘Supporting Intersex Students: A Resource for Students, Families,
                                                                                                         and Educators’’ (October 2021);
                                                                                                           (F) ‘‘Supporting Transgender Youth in School’’ (June 2021);


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                                                        Case 1:25-cv-00637-PTG-IDD                               Document 10-7                     Filed 05/07/25           Page 5 of 5 PageID#
                                                                                                                        265
                                                  8618              Federal Register / Vol. 90, No. 19 / Thursday, January 30, 2025 / Presidential Documents

                                                                                                           (G) ‘‘Letter to Educators on Title IX’s 49th Anniversary’’ (June 23, 2021);
                                                                                                           (H) ‘‘Confronting Anti-LGBTQI+ Harassment in Schools: A Resource
                                                                                                         for Students and Families’’ (June 2021);
                                                                                                           (I) ‘‘Enforcement of Title IX of the Education Amendments of 1972
                                                                                                         With Respect to Discrimination Based on Sexual Orientation and Gender
                                                                                                         Identity in Light of Bostock v. Clayton County’’ (June 22, 2021);
                                                                                                          (J) ‘‘Education in a Pandemic: The Disparate Impacts of COVID–19 on
                                                                                                         America’s Students’’ (June 9, 2021); and
                                                                                                           (K) ‘‘Back-to-School Message for Transgender Students from the U.S.
                                                                                                         Depts of Justice, Education, and HHS’’ (Aug. 17, 2021);
                                                                                                         (iii) the Attorney General’s Memorandum of March 26, 2021 entitled ‘‘Ap-
                                                                                                         plication of Bostock v. Clayton County to Title IX of the Education Amend-
                                                                                                         ments of 1972’’; and
                                                                                                        (iv) the Equal Employment Opportunity Commission’s ‘‘Enforcement Guid-
                                                                                                        ance on Harassment in the Workplace’’ (April 29, 2024).
                                                                                                      Sec. 8. General Provisions. (a) Nothing in this order shall be construed
                                                                                                      to impair or otherwise affect:
                                                                                                        (i) the authority granted by law to an executive department or agency,
                                                                                                        or the head thereof; or
                                                                                                        (ii) the functions of the Director of the Office of Management and Budget
                                                                                                        relating to budgetary, administrative, or legislative proposals.
                                                                                                        (b) This order shall be implemented consistent with applicable law and
                                                                                                      subject to the availability of appropriations.
                                                                                                        (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                      substantive or procedural, enforceable at law or in equity by any party
                                                                                                      against the United States, its departments, agencies, or entities, its officers,
                                                                                                      employees, or agents, or any other person.
                                                                                                        (d) If any provision of this order, or the application of any provision
                                                                                                      to any person or circumstance, is held to be invalid, the remainder of
                                                                                                      this order and the application of its provisions to any other persons or
                                                                                                      circumstances shall not be affected thereby.
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                                                                                                      THE WHITE HOUSE,
                                                                                                      January 20, 2025.


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